       Case 1:21-cr-00117-RCL Document 168-4 Filed 09/30/22 Page 1 of 7




                      UNITED STATES DISTRICT COURT
                                   FOR THE
                    DISTRICT OF DISTRICT OF COLUMBIA
___________________________________
                                    )
UNITED STATES,                      )
                                    )
      v.                            )    Case No. 21-cr-117-1(TFH)
                                    )
RYAN TAYLOR NICHOLS                 )
      Defendant.                    )
                                    )
____________________________________)



                          DECLARATION OF RYAN NICHOLS

   1. On September 5, 2022 I was targeted and harassed by Lt. Lancaster.

   2. She thought another inmate who likes like me, was me. That inmate was Ronald

      Macabee.

   3. It was obvious to me that Lancaster acting like she was in a rotten mood when she came

      into our pod.

   4. She started yelling at everyone.

   5. Nobody that I observed was in violation of any prison policy.

   6. She came over to my door and saw that I had towels that were hanging and drying, she

      took a metal pole that she was holding and she started beating my door with the metal

      pole, thinking I was inside the room.

   7. I was not in my room at that time, so I walked over to her, and she ordered me to take

      down the towels.

   8. I complied and walked away into the pod, remaining outside of my room.

   9. After I walked away, she closed and locked my door, locking me out of my room.
    Case 1:21-cr-00117-RCL Document 168-4 Filed 09/30/22 Page 2 of 7




10. She ordered the next room to also take down his towels.

11. She checked other rooms and saw that others had towels hanging in their cells.

12. Because of the towel situation she ordered a lock down of the entire pod.

13. When the lockdown occurred, I was outside my room and could not get back in because

   Landcaster had locked the door.

14. This should all be on Lancaster’s body camera footage and the main camera. I know this

   because I noticed immediately that her body camera was on when I first interacted with

   her.

15. After she called the lockdown, she saw Macabee going to get his medication.

16. Macabee and I look alike and can easily be confused for one another.

17. Lancaster approached Macabee.

18. From the way she approached him, I could tell that she confused Macabee for me. I was

   the most recent person that she interacted with, and she walked over to Macabee and

   began yelling at him as if she were continuing the same lecture that she was giving to me

   moments before.

19. Thinking Macabee was me, she yelled directly at him to put on a mask.

20. Thinking Macabee was me, she physically touched him and pushed him and sprayed him

   with OC spray while he was getting his medication.

21. This was simply for not wearing a mask, and because she thought he was me.

22. Lancaster then did an “all call” for other officers to come to the pod.

23. Macabee walked away in a nonthreatening manner after being sprayed.

24. Macabee was a corrections officer so he knows that she cannot do that.

25. I could tell that it took a great deal of discipline for Macabee to just walk away.
    Case 1:21-cr-00117-RCL Document 168-4 Filed 09/30/22 Page 3 of 7




26. She followed him while calling for backup.

27. He sat down at a table near my room to recover from the pain of the spray.

28. I could tell he was in great pain.

29. I was standing about five feet away from him.

30. I could tell Lancaster’s body camera was on.

31. Knowing it was being recorded, I yelled multiple times into the camera, “you just

   assaulted him.”

32. The entire pod, at least 15 other people, all witnessed this in full view, within 30 feet of

   Lancaster.

33. Everyone who witnessed it, also started calling out into her body camera to preserve it

   that she just assaulted Macabee.

34. Another backup officer came into the room and Lancaster told the officer to handcuff

   Macabee.

35. I don’t know what that officer’s name was but it was preserved on the main camera and

   in other documents.

36. He told Macabee to put his hands behind his back for cuffing and Macabee complied

   peacefully.

37. As Macabee was standing up, the officer started pushing him towards the wall and in one

   fluid motion, the officer went from a push to what I could tell was about to be a slam into

   the wall right near where I was standing.

38. At that point, while Macabee was being shoved, Lancaster pulled out her OC Spray.

39. Macabee was not heading in Lancaster’s direction.

40. The officer did not need any assistance cuffing Macabee because he was not resisting.
    Case 1:21-cr-00117-RCL Document 168-4 Filed 09/30/22 Page 4 of 7




41. For no apparent reason, Lancaster took out her OC Spray and reached around Macabee

   who’s back was to her, and sprayed him again.

42. Lancaster sprayed recklessly and indiscriminately.

43. She sprayed Macabee, who was already in pain from the first spray.

44. She also sprayed the officer and me.

45. She also sprayed others who were nearby.

46. She also sprayed it on the walls, on the table, and all over the place.

47. This is all caught on her body camera, as well the other officer, as well as the main

   camera.

48. It was witnessed by everyone in the pod, at least 15 other people, as well as the officer.

49. The entire time, our pod officer, Oburkney, was standing by and witnessed everything.

50. At no time did Oburkney step in to assist Lancaster.

51. This was because she at no point looked as if she required assistance because no one else

   was threatening her.

52. After she sprayed, everyone started screaming.

53. At that point I was standing next to a chair.

54. These are plastic chairs that are specifically chosen for the jail so that they cannot be used

   to hurt people. The chairs have no metal or wood at all. They are flimsy. They weigh at

   most three pounds. They can be picked up with one finger and no effort.

55. The back of the chair was towards me and I had my hands on the back.

56. I was in great pain because of the OC Spray that was in my eyes and in my mouth.
    Case 1:21-cr-00117-RCL Document 168-4 Filed 09/30/22 Page 5 of 7




57. It was hard for me to breath.

58. In pain and frustration, I lifted the chair.

59. My intention was to lift the chair no more than 6 inches off of the floor and push it

    towards the ground to release my frustration and to deal with the searing pain from the

    OC spray.

60. When I lifted it, at no point did the chair point in a threatening manner towards anyone.

61. I had no intention to threaten anyone.

62. This was all caught on multiple camaras and was witnessed by many people.

63. The chair was off of the ground for less than one second, and then I pushed it forcefully it

    back to the ground.

64. After the chair incident, the other officers came into the pod.

65. They bolted all of the doors and locked everyone down.

66. I cold not get into my room because Lancaster had previously locked me out.

67. I had no intention of not complying with the lockdown, but it was impossible for me to

    comply.

68. They took me and another inmate out of the pod.

69. They brought to another part of the jail.

70. That night they brought us our property, but they did not give me one of my hard drives.

71. They gave me one hard drive, my black one.

72. I asked, where is the other one, referring to the blue one.

73. They said they didn’t know.

74. Major Marr ordered a search for the drive it was never returned to me.

75. It mysteriously disappeared.
    Case 1:21-cr-00117-RCL Document 168-4 Filed 09/30/22 Page 6 of 7




76. The drive had attorney client privileged information on it.

77. The drive also had my discovery on it.

78. Whoever is in possession of that drive is now in possession of confidential information

   that contains my discovery as well as, among other private things, documents that could

   reveal my litigation strategy.

79. I reviewed body camera footage from January 6 of officers near me calling out multiple

   times to other officers who were spraying OC spray “STOP SPRAYING, YOU ARE

   GOING TO KILL THEM.”

80. At the time, when I heard that, I had reasonable fear and apprehension that I was in a life-

   threatening situation and that I could die.

81. Moments later, another January 6 defendant named Victoria was severely beaten.

82. On September 5, 2022, because of the OC spray, my PTSD kicked in and brought me

   back to that time on January 6, 2021.

83. I was never found guilty of any disciplinary report for the September 15 incident.

84. There were 15 witness statements taken and written out by other J6 defendants.

85. The witness statements were confiscated by Captain Saunders.

86. After the incident I was not permitted to take a shower.

87. When I was taken to medical, some time later, medical scolded the officers for not letting

   me take a shower immediately after the spray incident.

88. I was covered in OC spray for over 24 hours before I was allowed to take a shower.

89. I received burns on my skin but was not given burn cream until I was taken to medical

   much later.

90. I was given a cream called Mag Al Plus.
    Case 1:21-cr-00117-RCL Document 168-4 Filed 09/30/22 Page 7 of 7




91. I am currently being held in a different facility.

92. I have access to the remaining hard drive, but I am not allowed to keep it in my cell.

93. It is stored by the jail in a location unknown to me and out of my control.



I declare under the penalty of perjury that the foregoing is true and correct to the best of my

knowledge.

Executed on September 30, 2022

                                                   /s/ Ryan Nichols

                                                   Ryan Nichols.
